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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION



JONATHAN HOLBROOK,
1425 17th Street NW
Apartment 102                                        Case No.: L                   |
Washington, DC 20036
(202)596-5620,
        Plaintiff,


V.



NAVIENT SOLUTIONS,LLC,
2001 Edmund Halley Drive
Reston, V A 20191,
        Defendant.



                     COMPLAINT AND DEMAND FOR JURY TRIAL


Plaintiff, JONATHAN HOLBROOK("Mr. Holbrook"), pro se. sues Defendant, NAVIENT

SOLUTIONS,LLC("Defendant"), and in support thereof respectfully alleges violations ofthe

Telephone Consumer Protection Act,47 U.S.C. § 227 et seq.(the "TCPA").

                                       INTRODUCTION



     1. "Voluminous consumer complaints about abuses oftelephone technology ... prompted

        Congress to pass the TCPA." Mims v. Arrow Fin. Servs.. LLC.565 U.S. 368,370

        (2012).

     2. "Senator Hollings, the TCPA's sponsor, described these calls as The scourge of modem

        civilization, they wake us up in the moming; they intermpt our dinner at night; they force

        the sick and elderly out of bed; they hound us until we want to rip the telephone out of

        the wall.' 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give
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